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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW HAMPSHIRE

___________________________________
Scottsdale Capital Advisors Corp,   )
and John Hurry                      )
                                    )
              Plaintiffs,           )
                                    )
     v.                             )                 Civil Action No. 1:16-cv-00545
                                    )
The Deal, LLC and William Meagher,  )
                                    )
              Defendants.           )
____________________________________)


         ASSENTED-TO MOTION TO EXTEND TIME TO RESPOND/ANSWER TO
                 PLAINTIFFS’ COMPLAINT TO FEBRUARY 2, 2017

         NOW COME Defendants The Deal, LLC (“The Deal”) and William Meagher,

(collectively, the “Defendants”), and respectfully moves the Court to extend the date for

Defendants to respond/answer the Plaintiffs’ Complaint to February 2, 2017 and in support

thereof states as follows:

         1.     On or about November 18, 2016, Plaintiffs filed a Complaint and Demand for

Jury Trial in the Hillsborough County Superior Court, Northern District.

         2.     On December 1 and 5, 2016, the Defendants were served with the Summons and

Complaint.

         3.     On today’s date, Defendants have filed separately a Notice of Removal with this

Court.

         4.     Defendants contacted Plaintiffs’ counsel and requested an extension to respond to

the Complaint to February 2, 2017.

         5.     Plaintiffs’ counsel assents to the requested extension.



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      6.     Due to the nature of the within Motion, no memorandum of law accompanies this

motion.

      WHEREFORE, Defendants respectfully requests that the Court:

      A.     Grant the motion;

      B.     Extend the date for Defendants to respond to the Complaint to February 2, 2017;

and

      C.     Grant such further relief as is just.

                                                 Respectfully submitted,

                                                 The Deal, LLC and William Meagher
                                                 By Their Attorneys:

                                                 SHAHEEN & GORDON, P.A.


DATED: December 22, 2016                         /s/ Steven M. Gordon
                                                 Steven M. Gordon
                                                 NH Bar No. 964
                                                 107 Storrs Street
                                                 P.O. Box 2703
                                                 Concord, NH 03302-2703
                                                 (603) 225-7262

                                                 DAVIS WRIGHT TREMAINE LLP
                                                 Elizabeth A. McNamara (Pro Hac Vice to be filed)
                                                 John M. Browning (Pro Hac Vice to be filed)
                                                 1251 Avenue of the Americas, 21st Fl.
                                                 New York, NY 11238-1104
                                                 (212) 489-8240




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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 22nd day of December, 2016, a copy of the foregoing Motion
has been forwarded to the following in the manner specified herein:

Conventionally Served:
George R. Moore, Esq.
NH Bar # 1791
Devine, Millimet & Branch, P.A.
111 Amherst Street
Manchester, NH 3101
(603) 669-1000

Served by Overnight Courier
Charles J. Harder, Esq.
Jordan Susman, Esq.
Harder, Mirell & Abrams, LLP
132 South Rodeo Drive, 4th Floor
Beverly Hills, CA 90212
(424) 203-1600

Attorneys for Scottsdale Capital Advisors Corp.
and John Hurry



                                                      /s/ Steven M. Gordon
                                                      Steven M. Gordon
                                                      NH Bar #964




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